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                   EXHIBIT 47
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



 STATE OF NEW YORK, et al.

          Plaintiffs,

                v.
                                                            Case No. 1:25-cv-00196
 ROBERT F. KENNEDY, JR., in his official capacity as
 SECRETARY OF THE U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

          Defendants.



                                  DECLARATION OF JOHN DOE 2

        I, John Doe 2, an employee at the National Institute for Occupational Safety and Health

 (NIOSH, the Institute), declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the

 foregoing is true and correct:

        1.      I am over the age of 18 and have personal knowledge of all the facts stated herein

 through personal experience, through conversations with my colleagues, and through review of

 the records to which I have access.

        2.      I submit this Declaration in support of the States’ Motion for a Preliminary

 Injunction. I am doing so anonymously, and withholding certain identifying details, because I am

 still employed by the Federal Government and fear retaliation for my participation in this lawsuit.

        3.      Until I was recently placed on administrative leave as a result of the Department of

 Health and Human Services’ (HHS’) reduction in force, I worked full-time at the NIOSH facility

 in Spokane, Washington, where I had worked for many years in the Spokane Mining Research

 Division. Given my position and experience, I am very familiar with the operations and structure

 of the NIOSH Spokane facility and with NIOSH as a whole.
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        4.      NIOSH is responsible for conducting research and making recommendations for

 preventing work-related injuries and illnesses. The Institute seeks to improve worker health and

 safety across all types of workplaces, including mines, fire departments, oil and gas wells,

 construction sites, small businesses, and hospitals. The Institute conducts investigations of

 occupational health and safety concerns, often at the request of businesses and other organizations;

 researches occupational hazards; develops guidance to address those hazards; and provides

 graduate and post-graduate training on occupational health and safety through its Education and

 Research Centers.

        5.      NIOSH’s responsibilities to conduct research and investigations, develop guidance,

 and provide training on occupational health and safety are mandated by the Occupational Safety

 and Health Act, 29 U.S.C. §§ 669–71, among other statutes. Most NIOSH employees are based in

 research laboratories and offices in Cincinnati, Ohio; Morgantown, West Virginia; Pittsburgh,

 Pennsylvania; Spokane, Washington; Washington, D.C.; Atlanta, Georgia; and Denver, Colorado.

        6.      On January 21, 2025, then-Acting Secretary of HHS, Dorothy A. Fink, sent a memo

 that essentially required HHS employees, including myself and others who work at NIOSH, from

 engaging in outside communication unless that communication was explicitly approved by a

 Presidential Appointee:
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        7.     That communications directive, which heavily limits our ability to share research

 or engage in any outside communications, remains in effect to this day.

        8.     On March 27, 2025, the HHS Press Office released “HHS Announces

 Transformation to Make America Healthy Again,” which outlined a directive to lay off employees

 and reorganize the agency. HHS also announced it would commence a reduction in force of
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 approximately 10,000 full-time employees, and NIOSH would be wholly subsumed into a new

 sub-agency within HHS, the “Administration for a Healthy America.”

        9.        On April 1, 2025, I received a “Notice of Reduction in Force” that stated the

 following:




        10.       The Notice gave no other reason for my termination, other than to inform me that

 all employees in my competitive area would also be separated. The Notice also said my “duties

 have been identified as either unnecessary or virtually identical to duties being performed

 elsewhere in the agency” without further explanation.

        11.       Based on my conversations with my colleagues, nearly all of my fellow NIOSH

 Spokane employees also received RIFs (or intent to RIF), as well as the vast majority (over 93%)

 of employees across NIOSH. During this time, the affected employees were placed on

 administrative leave and not permitted to fulfill their job responsibilities unless otherwise directed

 by leadership.

        12.       On April 30, 2025, I, along with all other NIOSH personnel, received an email from

 NIOSH Director John Howard (who also received a RIF on April 1), seemingly confirming the

 media reporting that “some” NIOSH employees would be brought back from administrative leave

 on a “temporary” basis until their official separation. The email stated the following:
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         Colleagues:

         I want each of you to know that your work is valued, not only within our Institute,
         but across the Nation. I also want to acknowledge that the past few months have been
         challenging and frustrating as we have seen a significant amount of NIOSH’s work
         be impacted by reductions in our staff and recent Reduction in Force (RIF) notices
         sent out on April 1st. The significant number of RIF notices sent to staff, including
         myself, across NIOSH and CDC has created confusion and gaps in information that
         we are continuing to try to fill. These challenges have resulted in limited
         communication during a time when I know many are seeking guidance and answers.

         In the last four weeks, we have seen a significant number of our partners speak up
         about the impact NIOSH research and service programs has had in improving and
         protecting the health and safety of all workers. The work you have done throughout
         your time at NIOSH has had lasting and meaningful impact in the lives of everyday
         workers.

         We are still uncertain about what the future holds. This week we saw some NIOSH
         staff be brought back from administrative leave to continue their work. Currently,
         this is a temporary arrangement to help complete our obligations within these
         programs. Additionally, we are continuing to work with CDC to understand how to
         transfer and archive NIOSH’s significant body of work so that it continues to be
         available to other researchers and our partners in the occupational safety and health
         community. For those programs who will be moving to the Administration for a
         Healthy America (AHA), we are also working with HHS to understand how that
         transition will occur.

         While I cannot say what the future will be, I can say that it is my honor and privilege
         to work beside so many talented and dedicated individuals. You are each shining
         examples of what it means to be public servants.

         JH

         13.      On May 2, 2025, I learned from my colleagues, as well as a CBS News publication,

 that the vast majority of the remaining NIOSH employees who were not included in the

 April 1, 2025 RIF had just received RIF notices that also placed them on administrative leave, with

 their official separation date on July 2, 2025. 1 This batch of NIOSH employees largely consisted




         1
           Alexander Tin, Worker safety agency NIOSH lays off most remaining staff, CBS News (May 3, 2025)
 https://www.cbsnews.com/news/worker-safety-agency-niosh-lays-off-most-remaining-staff/.
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 of employees within the NIOSH bargaining unit who were entitled to receive certain legal notices

 of reduction in force.

        14.     The CBS News article also included an annotated organizational chart of NIOSH.

 While I did not annotate the chart myself, based on my experience and knowledge as a NIOSH

 employee, I believe this annotated chart accurately reflects the eliminations at NIOSH following

 the RIFs:




        15.     Because of the scale of these RIFs, the NIOSH Spokane facility, which houses both

 the Spokane Mining Research Division and the Western States Division, will be functionally

 inoperable after June 2, 2025. Following the first round of official separations on June 2, 2025, the

 research laboratories in NIOSH Spokane, including those that use largely immobile specialized

 equipment, will lose nearly all of its supervisors—and after July 2, 2025, all of the personnel

 trained to use the laboratory equipment. The mining research done in Spokane will lose all of the

 employees providing its direction and expertise, and will effectively cease to exist.
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        16.     Based on my knowledge and experience, I do not think that the NIOSH can meet

 its statutory obligations to administer its congressionally-mandated programs if these RIFs are

 fully implemented. A 93% (or more) reduction in the NIOSH workforce means that the Institute

 will effectively be eliminated, and in my opinion will not be able to address work-related health

 and safety concerns, conduct the research mandated by statute, maintain the registries and

 programs for miners and firefighters, or conduct any health hazard evaluations. I do not see any

 possible way the few remaining NIOSH employees in specific programs will be able to complete

 the additional work of the vast majority of other NIOSH employees who are subject to the RIF. I

 and my colleagues in NIOSH Spokane were provided no direction or opportunity to facilitate the

 transfer of our work to anyone else at NIOSH or within HHS.

        17.     I declare under penalty of perjury under the laws of the United States of America

 that the foregoing is true and correct.


                                           ___________________________________
                                           ______________________________
                                           JOHN DOE 2, NIOSH EMPLOYEE
                                           Spokane, Washington

 Date: May 7, 2025
